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      Attorney(s) for Rothschild Broadcast Distribution Systems, LLC
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  7
                      IN THE UNITED STATES DISTRICT COURT
  8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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 10
       ROTHSCHILD BROADCAST
       DISTRIBUTION SYSTEMS, LLC,
 11
                          Plaintiff,                CASE NO. 8:21-cv-01539
 12
       v.                                           JURY TRIAL DEMANDED
 13

 14    ARCULES, INC.,

 15                       Defendant.
 16

 17
                                         COMPLAINT
 18
            Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” or
 19
      “Rothschild Broadcast Distribution Systems”) files this complaint against Arcules, Inc.
 20
      (“Arcules”) for infringement of U.S. Patent No. 8,856,221 (hereinafter the “`221
 21
      Patent”) and alleges as follows:
 22
                                            PARTIES
 23
            1.     Plaintiff is a Texas limited liability company with an address at 1 East
 24
      Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
 25
            2.     On information and belief, Defendant is a California corporation, with a
 26
      place of business at 17875 Von Karman Ave., #450, Irvine, CA 92614. On information
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  1   and belief, Defendant may be served through its agent, Steven Shaw, at the same
  2   address.
  3                                  JURISDICTION AND VENUE
  4         3.       This action arises under the patent laws of the United States, 35 U.S.C. §
  5   271 et seq. Plaintiff is seeking damages, as well as attorney fees and costs.
  6         4.       Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal
  7   Question) and 1338(a) (Patents).
  8         5.       On information and belief, this Court has personal jurisdiction over
  9   Defendant because Defendant has committed, and continues to commit, acts of
 10   infringement in this District, has conducted business in this District, and/or has engaged
 11   in continuous and systematic activities in this District.
 12         6.       Upon information and belief, Defendant’s instrumentalities that are
 13   alleged herein to infringe were and continue to be used, imported, offered for sale,
 14   and/or sold in the District.
 15         7.       Venue is proper in this District under 28 U.S.C. §1400(b) because
 16   Defendant is deemed to be a resident in this District. Alternatively, acts of infringement
 17   are occurring in this District and Defendant has a regular and established place of
 18   business in this District.
 19                                        BACKGROUND
 20         8.       On October 7, 2014, the United States Patent and Trademark Office
 21   (“USPTO”) duly and legally issued the `221 Patent, entitled “System and Method for
 22   Storing Broadcast Content in a Cloud-Based Computing Environment” after the
 23   USPTO completed a full and fair examination. The ‘221 Patent is attached as Exhibit
 24   A.
 25         9.       Rothschild Broadcast Distribution Systems is currently the owner of the
 26   `221 Patent.
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  1         10.    Rothschild Broadcast Distribution Systems possesses all rights of
  2   recovery under the `221 Patent, including the exclusive right to recover for past, present
  3   and future infringement.
  4         11.    The `221 Patent contains thirteen claims including two independent claims
  5   (claims 1 and 7) and eleven dependent claims.
  6                                          COUNT ONE
  7                   (Infringement of United States Patent No. 8,856,221)
  8         12.    Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 11, the
  9   same as if set forth herein.
 10         13.    This cause of action arises under the patent laws of the United States and,
 11   in particular under 35 U.S.C. §§ 271, et seq.
 12         14.    Defendant has knowledge of its infringement of the `221 Patent, at least
 13   as of the service of the present complaint.
 14         15.    The ‘221 Patent teaches a method and apparatus for media content storage
 15   and delivery. ‘221 Patent, Abstract. Among other things, the claimed system includes
 16   a server, which has a receiver in communication with a processor. Id. The receiver
 17   receives a request message. Id. The request message includes media data indicating
 18   requested media content and a consumer device identifier corresponding to a consumer
 19   device. Id. The processor determines whether the consumer device identifier
 20   corresponds to a registered consumer device. Id. If the processor determines that the
 21   consumer device identifier corresponds to the registered consumer device, then the
 22   processor determines whether the request message is one of a storage request message
 23   and a content request message. Id. If the request message is the storage request message,
 24   then the processor is further configured to determine whether the requested media
 25   content is available for storage. Id. If the request message is the content request
 26   message, then the processor initiates delivery of the requested media content to the
 27   consumer device. Id.
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  1         16.    The present invention solves problems that existed with then-existing
  2   media delivery systems. One problem with prior delivery systems is that the customer
  3   was charged according to the expenses of the provider rather than the usage of the
  4   customer. ‘221 Patent, 1:31-57. Customers were not charged based on the amount of
  5   programming delivered or the amount or duration of the customer’s storage of media.
  6   Id. Another such problem, more generally, is that customers were not billed and
  7   services were not provided, in a way that was tailored to the customer’s needs and
  8   usage. Id., 2:3-13.
  9         17.    A number of aspects of the invention(s) embodied in the ‘221 Patent
 10   overcome the problems with the prior art. For example, the inventive system includes
 11   a processor in communication with a receiver. Id., 2:23-34. The processor determines
 12   media content characteristics that correspond to the media content to be stored. Id. The
 13   processor determines a length of time to store the media content based on the media
 14   data and determines a cost amount based at least in part on the determined media
 15   content characteristics and length of time to store the media content. Id. As another
 16   example, the system makes a determination that media content is available for
 17   download. Id., 2:64-3:2. A determination is made that content is not stored. Download
 18   of the media content is initiated. Id. The media content is received and the received
 19   media content is stored. Id.
 20         18.    The ‘221 Patent is directed to computerized technologies to provide users
 21   with tailored media delivery systems and tailored billing for such systems. Among other
 22   things, the ‘221 Patent claims include sending and receiving of request messages
 23   indicating requested media content and including a device identifier corresponding to
 24   a consumer device. A determination is made whether the identifier corresponds to the
 25   device. A determination is also made as to whether the request is for delivery or
 26   storage. The media data in the request includes time data that indicates a length of time
 27   for storage. A processor is configured to determine whether requested media exists and
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  1   whether there are any restrictions associated with delivery or storage of the requested
  2   media.
  3         19.    The system(s) and methods of the ‘221 Patent include software and
  4   hardware that do not operate in a conventional manner. For example, the software is
  5   tailored to provide functionality to perform recited steps and the processor is configured
  6   (and/or programmed) to provide functionality recited throughout the claims of the ‘221
  7   Patent.
  8         20.    The ‘221 Patent solves problems with the art that are rooted in computer
  9   technology and that are associated with electronic transmission, loading, and storage of
 10   location information, as well as automatic provisioning of route guidance. The ‘221
 11   Patent claims do not merely recite the performance of some business practice known
 12   from the pre-Internet world along with the requirement to perform it on the Internet.
 13         21.    The improvements of the ‘221 Patent and the features recited in the claims
 14   in the ‘221 Patent provide improvements to conventional hardware and software
 15   systems and methods. The improvements render the claimed invention of the ‘221
 16   Patent non-generic in view of conventional components.
 17         22.    The improvements of the ‘221 Patent and the features recitations in the
 18   claims of the ’221 Patent are not those that would be well-understood, routine or
 19   conventional to one of ordinary skill in the art at the time of the invention.
 20         23.    Accordingly, Defendant has infringed, and continues to infringe, the `221
 21   Patent in violation of 35 U.S.C. § 271. Upon information and belief, Defendant has
 22   infringed and continues to infringe one or more claims, including at least Claim 7, of
 23   the ‘221 Patent by making, using, importing, selling, and/or offering for media content
 24   storage and delivery systems and services covered by one or more claims of the ‘221
 25   Patent.
 26         24.    Defendant sells, offers to sell, and/or uses media content storage and
 27   delivery systems and services, including, without limitation, the Arcules security
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  1   camera platform, any associated hardware, software and apps, as well as any similar
  2   products (“Product”), which infringe at least Claim 7 of the ‘221 Patent.
  3         25.    The Product practices a method of storing (e.g., cloud storage) media
  4   content (e.g., recording) and delivering requested media content (streaming video,
  5   recorded videos, etc.) to a consumer device (e.g., mobile device with app or software).
  6   Certain aspects of these elements are illustrated in the screenshots below and/or in those
  7   provided in connection with other allegations herein.
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 17         26.    The Product necessarily includes a receiver configured to receive a request
 18   message including data indicating requested media content (e.g., the Product must have
 19   infrastructure to receive a request to store recorded media content or to stream recorded
 20   media content on a smartphone; additionally, the request message must contain data
 21   that identifies the content to be stored or streamed) and a consumer device identifier
 22   corresponding to a consumer device (e.g., the user credentials are used to access the
 23   contents of the Product). Certain aspects of these elements are illustrated in the
 24   screenshots below and/or in those provided in connection with other allegations herein.
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  18         27.    The Product necessarily determines whether the consumer device
  19   identifier corresponds to the registered consumer device (e.g., a user must be a
  20   registered user to access the Product’s services). Certain aspects of these elements are
  21   illustrated in the screenshots below and/or in those provided in connection with other
  22   allegations herein.
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             28.    The Product provides for both media downloads and/or storage, and media
  17
       streaming. After a successful login, the Product necessarily determines whether the
  18
       request received from a customer is a request for storage (e.g., recording or storing
  19
       content) or content (e.g., streaming of media content). Certain aspects of these elements
  20
       are illustrated in the screenshots below and/or in those provided in connection with
  21
       other allegations herein.
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             29.    The Product verifies that media content identified in the media data of the
  16
       storage request message (e.g., request to record content) is available for storage in order
  17
       to prevent data errors that would result from attempting to store content that is not
  18
       available for storage. The Product must verify that the media content (e.g. specific
  19
       recording) identified in the media data of the storage request message is available for
  20
       storage in order to prevent data errors that would result from attempting to store content
  21
       that is not available for storage (e.g., the product must verify a user’s ability to store
  22
       media content is limited to a certain amount of memory and/or time). Certain aspects
  23
       of these elements are illustrated in the screenshots below and/or in those provided in
  24
       connection with other allegations herein.
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             30.   If a customer requests content (e.g., live streaming of media content), then
  15
       a processor within the Product necessarily initiates delivery of the content to the
  16
       customer’s device. The Product will initiate delivery of the requested media content to
  17
       the consumer device (e.g., stream media content feed to a smartphone or tablet etc.) if
  18
       the request message is a content request message (e.g., request for live streaming).
  19
       Certain aspects of these elements are illustrated in the screen shots below and/or in
  20
       screen shots provided in connection with other allegations herein.
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             31.    The media data includes date and time information to identify conference
  17
       start and stop times, as well as meeting length. Time data may also indicate a length of
  18
       time to store the requested media content (e.g., a user is allowed to store media content
  19
       for a retention period defined by a variable amount of time). Certain aspects of these
  20
       elements are illustrated in the screenshots below and/or in those provided in connection
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       with other allegations herein.
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             32.     The Product must first determine whether the requested media content
  15
       exists prior to initiating delivery in order to prevent data errors that would result from
  16
       attempting to transmit media content that does not exist (e.g., the product must verify
  17
       that a particular requested data is stored in the cloud). Also, a user can view the history
  18
       of media content and the processor can identify the existence of that particular media
  19
       content. Certain aspects of these elements are illustrated in the screenshots below
  20
       and/or in those provided in connection with other allegations herein.
  21
             33.    After the processor determines whether the requested media content is
  22
       available, it determines whether there are restrictions associated with the requested
  23
       media content (e.g., user access restrictions, etc.). Certain aspects of these elements are
  24
       illustrated in the screenshots below and/or those provided in connection with other
  25
       allegations herein.
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  15         34.    Defendant’s actions complained of herein will continue unless Defendant
  16   is enjoined by this Court.
  17         35.    Defendant’s actions complained of herein is causing irreparable harm and
  18   monetary damage to Plaintiff and will continue to do so unless and until Defendant is
  19   enjoined and restrained by this Court.
  20         36.       The `221 Patent is valid, enforceable, and was duly issued in full
  21   compliance with Title 35 of the United States Code.
  22         37.        A copy of the ‘221 Patent, titled “System and Method for Storing
  23   Broadcast Content in a Cloud-based Computing Environment,” is attached hereto as
  24   Exhibit A.
  25         38.       By engaging in the conduct described herein, Defendant has injured
  26   Plaintiff and is liable for infringement of the `221 Patent, pursuant to 35 U.S.C. § 271.
  27         39. Defendant has committed these acts of literal infringement, or infringement
  28   under the doctrine of equivalents of the `221 Patent, without license or authorization.
                                                 25
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   1            40. As a result of Defendant’s infringement of the `221 Patent, injured Plaintiff
   2   has suffered monetary damages and is entitled to a monetary judgment in an amount
   3   adequate to compensate for Defendant’s past infringement, together with interests and
   4   costs.
   5            41.   Plaintiff is in compliance with 35 U.S.C. § 287.
   6            42.    As such, Plaintiff is entitled to compensation for any continuing and/or
   7   future infringement of the `221 Patent up until the date that Defendant ceases its
   8   infringing activities.
   9                                 DEMAND FOR JURY TRIAL
  10            43.   Rothschild Broadcast Distribution Systems, under Rule 38 of the Federal
  11   Rules of Civil Procedure, requests a trial by jury of any issues so triable by right.
  12                                    PRAYER FOR RELIEF
  13            WHEREFORE, Plaintiff asks the Court to:
  14            (a)   Enter judgment for Plaintiff on this Complaint on all cases of action
  15   asserted herein;
  16            (b)     Enter an Order enjoining Defendant, its agents, officers, servants,
  17   employees, attorneys, and all persons in active concert or participation with Defendant
  18   who receives notice of the order from further infringement of United States Patent No.
  19   8,856,221 (or, in the alternative, awarding Plaintiff running royalty from the time
  20   judgment going forward);
  21            (c)   Award Plaintiff damages resulting from Defendants infringement in
  22   accordance with 35 U.S.C. § 284;
  23            (d) Award Plaintiff such further relief to which the Court finds Plaintiff entitled
  24   under law or equity.
  25   Dated: September 20, 2021                 Respectfully submitted,
  26
                                                 /s/ Stephen M. Lobbin
  27                                             Attorney(s) for Plaintiff Rothschild Broadcast
  28                                             Distribution Systems, LLC
                                                  26
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